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                       UNITED STATES DISTRICT COURT

                       EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                               CRIMINAL ACTION

V.                                                     NO. 09-398

COREY OLIVER                                           SECTION "F"


                             ORDER AND REASONS

        Before the Court is the petitioner’s motion seeking post-

conviction relief pursuant to 28 U.S.C. § 2255, and request for an

evidentiary hearing to resolve his claim of ineffective assistance

of counsel. For the reasons that follow, the petitioner's request

for an evidentiary hearing is DENIED, the habeas petition is

dismissed without prejudice, and the Clerk of Court is directed to

reinstate Oliver's criminal judgment to allow Oliver to pursue an

out-of-time appeal.

                                  Background

        Corey Oliver, a federal prisoner, asks this Court to vacate,

set aside, or correct his sentence, based on ineffective assistance

of counsel. Oliver charges that his counsel was per se ineffective

in failing to file a direct appeal that he instructed him to file.

        In 2010 Corey Oliver and seven co-defendants were charged by

Superseding Indictment with violating the Racketeer Influenced

Corruption Act, the Violent Crime in Aid of Racketeering Act, the

Federal Controlled Substances Act and the Federal Gun Control Act.


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Oliver and his co-defendants, it was charged, were members of a

gang known as the “Josephine Dog Pound,” which distributed crack

cocaine in two areas in New Orleans. Oliver acted as a drug

distributer and gunman for the organization, and he was present at

the September 4, 2006 shooting of three men by co-defendant Daryl

Shields, which resulted in the death of Herbert Lane.          Ultimately,

in entering a plea of guilty to one of the charges against him,

Oliver admitted to   being responsible for distributing between 280

and 500 grams of crack cocaine between his state drug conviction

(for possession of heroin and crack cocaine) on January 10, 2008

and the Superseding Indictment on August 6, 2010.

     Before the scheduled trial date, on June 22, 2011, Oliver,

with the assistance of appointed counsel, John-Michael Lawrence,

pleaded guilty before this Court to Count 2 of the Superseding

Indictment (conspiracy to distribute controlled substances) and to

a bill of information establishing his prior drug conviction. When

Oliver pleaded guilty to the conspiracy charge, he waived his right

to appeal and contest his conviction or sentence in any collateral

proceeding. In the plea agreement, Oliver and the Government agreed

to a 20-year prison sentence, the mandatory minimum sentence for a

charge with a maximum term of life imprisonment, a fine of up to

$20,000,000, a $100 special assessment fee, and a period of at

least 10 years of supervised release following imprisonment. The

Government agreed to request that this Court dismiss Counts 1 and


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3 against Oliver, and that Oliver was entitled to a three level

reduction in his sentencing guidelines.

     In   the     United   States      Probation          Office’s       Pre-Sentence

Investigation Report, it was determined that Oliver had a Category

II Criminal History with a total offense level of 40, placing him

in a guidelines imprisonment range between 324 and 405 months,

which was above the stipulated sentence of the plea agreement.

Nevertheless, this Court accepted the Government and Oliver’s plea

bargain   on    November   16,    2011,        and   he   was    sentenced     to   the

stipulated     prison   term     of   20       years.       Notwithstanding         this

stipulated sentence, Oliver suggests that he was "not happy with

[his] term of imprisonment", and that he told his lawyer to file an

appeal.   No direct appeal was ever filed.

     Oliver now seeks relief under 28 U.S.C. § 2255, claiming

ineffective assistance of counsel for failure to perfect his

requested appeal.

                                       I.

     A petitioner may file a habeas corpus petition pursuant to 28

U.S.C. § 2255 claiming that a sentence imposed by a federal court

"was imposed in violation of the Constitution or the laws of the

United States." 28 U.S.C. § 2255.                The Court "may entertain and

determine such motion without requiring the production of the

prisoner at the hearing." Id.

     Oliver submits, by sworn affidavit, that he expressed to his


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counsel that he desired to appeal his sentence at the conclusion of

his     sentencing      hearing.   Oliver   contends     that      his   attorney

disregarded these instructions and failed to file a timely notice

of appeal.        Regardless of the viability of any claims he might

raise on direct appeal, if he demonstrates by a preponderance of

the evidence that he requested an appeal, the Fifth Circuit

instructs that he is entitled to file an out-of-time appeal.

A.      Failure    to    File   Requested   Appeal     Constitutes       Per       Se

        Ineffective Assistance of Counsel

        A petitioner’s claim of constitutionally ineffective counsel

based on the failure to file a notice of appeal is analyzed under

Strickland v. Washington, 466 U.S. 688 (1984).             See Roe v. Flores-

Ortega, 528 U.S. 470, 476-77 (2000).              To show that counsel was

deficient, a petitioner must show that counsel’s failure to file a

notice of appeal fell below an objective standard of reasonableness

and that it prejudiced him. See U.S. v. Heckler, 165 Fed.Appx. 360

(5th Cir. 2006) (citing Flores-Ortgea, 528 U.S. at 484). In Flores-

Ortega, the Supreme Court held that an attorney’s failure to file

a requested notice of appeal is per se ineffective assistance of

counsel.     528 U.S. at 483-86.       This is so regardless of the merit

of any claims raised on appeal: a defendant raising ineffective

assistance of counsel for his counsel's failure to file a requested

appeal need not demonstrate an ability to raise meritorious issues

on appeal. Id. at 477-78. Instead, a petitioner shows ineffective


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assistance of counsel if he can show "a reasonable probability

that, but for counsel's deficient failure to consult with him about

an appeal, he would have timely appealed." Id. at 484.

     In United States v. Tapp, the Fifth Circuit extended the rule

set forth in Flores-Ortega to apply even where a defendant has

waived his right to appeal or seek collateral relief.              491 F.3d

263, 266 (5th Cir. 2007).      The court held:

          [T]he rule of Flores-Ortega applies even where
          a defendant has waived his right to direct
          appeal   and   collateral  review.   In   such
          circumstances, if the petitioner is able to
          demonstrate by a preponderance of the evidence
          that he requested an appeal, prejudice will be
          presumed and the petitioner will be entitled
          to file an out-of-time appeal, regardless of
          whether he is able to identify any arguably
          meritorious grounds for appeal that would not
          be precluded by the terms of his appeal
          waiver.

Id. (joining the Second, Tenth, and Eleventh Circuits in holding

that Flores-Ortega applies in cases involving appeal and collateral

review waivers).1 Thus, if petitioner is able to establish by a


     1
      In fact, the majority of appellate courts to address the
issue agree with this approach in the context of appellate
waivers. See Campbell v. United States, 686 F.3d 353, 359 (6th
Cir. 2012); Watson v. United States, 493 F.3d 960, 964 (8th Cir.
2007); United States v. Poindexter, 492 F.3d 263, 271 (4th Cir.
2007); United States v. Sandoval-Lopez, 409 F.3d 1193, 1197 (9th
Cir. 2005). Nevertheless, there is a Circuit split; the two
circuits in the minority are the Third Circuit and the Seventh
Circuit. See United States v. Mabry, 536 F.3d 231, 241-42 (3d
Cir. 2008)(concluding that where an attorney fails to file a
notice of appeal as directed after the defendant waived his
appellate rights in a plea agreement, waiver is the "threshold
issue," holding that a defendant cannot bring an ineffective-
assistance claim under Flores-Ortega "unless the waiver fails to

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preponderance of the evidence that he told his attorney to file a

notice of appeal, prejudice is presumed and he is entitled to file

an out-of-time appeal.

B.      Petitioner’s Right to an Evidentiary Hearing

        The Government concludes, without support, that the Court




pass muster under an entirely different test: one that examines
its knowing and voluntary nature and asks whether its enforcement
would work a miscarriage of justice"), cert. denied, 557 U.S. 903
(2009); Nunez v. United States, 546 F.3d 450, 456 (7th Cir.
2008)(holding that once a defendant has validly waived his
appellate rights, absent a non-frivolous issue that could be
raised on appeal, "counsel should protect the client's interest
in retaining the benefit of the plea bargain," even if it means
ignoring a client's express instruction to appeal), vacated on
other grounds, 554 U.S. 911 (2008). The Third Circuit has
observed:

        Even those courts that have applied Flores-Ortega in
        the waiver context have noted that presuming prejudice
        where there is a waiver makes little sense, because
        "most successful § 2255 movants in the appeal waiver
        situation obtain little more than an opportunity to
        lose at a later date." United States v. Poindexter,
        492 F.3d 263, 273 (4th Cir. 2007); accord Campusano,
        442 F.3d at 777 ("Admittedly, applying the Flores-
        Ortega presumption to post-waiver situations will
        bestow on most defendants nothing more than an
        opportunity to lose."). So doing, they reach results
        that are admittedly "contrary to common sense." See
        Sandoval-Lopez, 409 F.3d at

Mabry, 536 F.3d at 241 n.9. The Government, in emphasizing
Oliver's waiver (and his agreement to a specific sentence of 20
years), appears to echo these sentiments. But this Court is
bound to follow Fifth Circuit precedent, which holds that Oliver
is entitled to an out-of-time appeal if he previously requested
an appeal that his counsel neglected to file, regardless of the
fact that he waived his appeal rights, and even without a showing
that the appeal would have merit.

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should deny Oliver's petition without an evidentiary hearing.2

Under       the    circumstances,   it   would     be   improper     to    deny   the

petitioner’s motion without an evidentiary hearing. 28 U.S.C. §

2255(b) provides in part:

                  Unless the motion and the files and records of
                  the case conclusively show that the prisoner
                  is entitled to no relief, the court shall
                  cause notice thereof to be served upon the
                  United States attorney, grant a prompt hearing
                  thereon, determine the issues and make
                  findings of fact and conclusions of law with
                  respect thereto.

In determining whether a petitioner’s § 2255 motion warrants an

evidentiary hearing, a two- part inquiry is conducted. Friedman v.

United States, 588 F.2d 1010, 1015 (5th Cir. 1979).                       First, the

Court examines whether the record conclusively negates the factual

predicates asserted in support of the motion. Id.                     If not, the

Court next determines whether the movant would be entitled to

relief if his factual allegations are true. Id. If the defendant

would be entitled to relief, then the Court must conduct a hearing

to ascertain the validity of the movant's factual assertions. Id.



        2
      The Government focuses on the Roe v. Flores-Ortega analysis
for determining if an attorney’s failure to consult with a
defendant regarding the possibility of an appeal constitutes
ineffective assistance of counsel. As explained by the Court in
Flores-Ortega, however, that analysis is applicable in cases
where "the defendant has not clearly conveyed his wishes one way
or the other" regarding the decision to file an appeal. 528 U.S.
470, 477 (2000). Here, while Oliver does suggest that counsel
failed to discuss the advantages or disadvantages of appealing,
Oliver also submits that he in fact requested that his counsel
perfect an appeal and counsel disregarded his request.

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        With respect to the first prong of the inquiry, the Court

finds    that    the   record   does   not   conclusively   negate    Oliver's

allegations that his attorney disregarded his request to appeal his

sentence.        Oliver alleges that he directly requested that his

attorney file a notice of appeal after his sentencing hearing; he

submits a statement under penalty of perjury that he "requested an

appeal" and expressed his "desire to appeal...to attorney Lawrence

at the conclusion of sentencing."            For its part, the Government

represents that it has spoken with Oliver's counsel, Mr. Lawrence,

who apparently disputes Oliver's account that he requested an

appeal be filed; however, even had the Government submitted an

affidavit memorializing this alleged fact (which it does not), the

Fifth Circuit has held that "contested fact issues in § 2255 cases

cannot be resolved on the basis of affidavits." Friedman, 588 F.2d

at 1015; see also Machibroda v. United States, 368 U.S. 487, 495

(1962) ("Not by the pleadings and the affidavits, but by the whole

of the testimony, must it be determined whether the petitioner has

carried his burden of proof and shown his right to a discharge.").

        In light of the clearly applicable law -- that counsel's

failure     to    perfect   a   requested     appeal   constitutes     per       se

ineffective assistance of counsel -- the petitioner has also

satisfied the second prong of the evidentiary hearing standard by

establishing that he would be entitled to relief if his allegations

were proven.


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                  II. Out-of-Time Appeal Procedure

     The Court finds that granting Oliver the relief he seeks3

provides a more efficient resolution than conducting a hearing.

     If counsel failed to perfect a requested appeal, granting an

out-of-time appeal is a permissible remedy. See United States v.

Cooley, --- Fed.Appx. ---, 2013 WL 6671802, at *1 (5th Cir. Dec. 19,

2013)(citing U.S. v. West, 240 F.3d 456, 459 (5th Cir. 2001)); see

also Mack v. Smith, 659 F.2d 23, 25 (5th Cir. 1981).                Because "a

district court does not have the authority to create appellate

jurisdiction   simply   by     ordering   an   out-of-time       appeal",    the

judgment-reinstatement procedure set forth by the Fifth Circuit

must be followed in these circumstances.           See U.S. v. West, 240

F.3d 456, 459 (5th Cir. 1993) (emphasis in original).                       This

procedure calls for dismissing the petitioner’s § 2255 petition

without prejudice and reinstating the petitioner’s judgment of

conviction to reset the time for which his appeal should run.                See

Mack v. Smith, 659 F.2d 23, 26 (5th Cir. 1981).4                 The procedure

thus remedies counsel’s deficiency in failing to file the requested

appeal by providing the opportunity to file a notice of appeal from


     3
      Oliver "pray[s] the district court will allow me to
exercise my right to appeal."
     4
      In sanctioning this procedure, the Fifth Circuit
distinguished between the statutory and judicial remedy: If the
district court "choos[es] the judicial remedy, the court must
deny the statutory remedy, for it is inconsistent to ‘grant’ §
2255 relief in name, yet deny it in substance by refusing to
apply a remedy it provides." West, 240 F.d 3d at 459.

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the re-imposed sentence within the time limit mandated by Federal

Rule of Appellate Procedure 4(b)(1)(A).5

     Accordingly, the Court invokes the judgment-reinstatement

procedure; IT IS ORDERED: that the petitioner’s § 2255 petition is

hereby dismissed without prejudice, and the Clerk of Court is

directed to REINSTATE the judgment in this case.          To file a timely

appeal, Oliver must file a notice of appeal from the re-imposed

judgment in accordance with Federal Rule of Appellate Procedure

4(b)(1)(A).   Finally, IT IS FURTHER ORDERED: that Oliver's motion

to supplement his motion to vacate is DENIED as moot.

                              New Orleans, Louisiana, March 26, 2014


                                   ____________________________
                                        MARTIN L. C. FELDMAN
                                    UNITED STATES DISTRICT JUDGE




     5
      The Court notes that the petitioner’s knowing and voluntary
waiver of his appeal rights, while not a bar to his right to file
an appeal, can and will be considered by the Fifth Circuit in
evaluating the merits of any such appeal.

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